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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JOSE DE LA ROSA,                                                L~1;22l£~
                          Plaintiff,                     18 Civ. 1981 (HBP)

     -against-                                           OPINION
                                                         AND ORDER
BRONX 656 FOOD CORP., et al.,

                          Defendants.

-----------------------------------x

           PITMAN, United States Magistrate Judge:


           I held a lengthy settlement conference in this matter

on August 7, 2018 that was attended by the parties and their

counsel.   A settlement was reached at the conference and this

matter is now before me on the parties' joint application to

approve the settlement.           All parties have consented to my

exercising plenary jurisdiction pursuant to 28 U.S.C. § 636(c)

           Plaintiff alleges that he was employed as a meat

department employee from approximately March 2012 until August

2015 at a supermarket that was owned and operated by defendants.

Plaintiff further alleges that he worked between 54-60 hours per

week and was paid approximately $900 per week for all hours

worked.    Plaintiff brings this action under the Fair Labor

Standards Act     (the "FLSA"), 29 U.S.C. §§ 201 et                          .§.gg.,           and the New

York Labor Law (the "NYLL"), and seeks to recover unpaid overtime

premium pay and spread-of-hours pay.                  Plaintiff also seeks
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statutory damages under the wage statement and wage notice

requirements of the NYLL.     According to his damages calculations,

plaintiff is potentially owed $46,176 in unpaid overtime premium

pay, spread-of-hours pay and statutory damages.

          Defendants contend that plaintiff was always paid at an

hourly minimum wage rate, and one and one-half times that rate

for any hours he worked in excess of 40 hour per week.          Defen-

dants provided time records and payroll records supporting their

contentions.   According to these records, defendants did not owe

plaintiff any overtime premium pay and owed him less than $1,000

in spread-of-hours pay.

          I presided over the settlement conferences between the

parties and their counsel on August 7, 2018.        After a protracted

discussion of the strengths and weaknesses of the parties'

respective positions, the parties agreed to resolve the dispute

with a total payment of $12,500.00, of which $7,666.67 is to be

paid to plaintiff and $4,833.33 is to be paid to plaintiff's

counsel as attorneys'   fees and costs.     The parties memorialized

the terms of the settlement in a written settlement agreement

(Settlement Agreement and Release, dated Dec. 5, 2018, annexed to

Letter from Steven J. Moser, Esq. to the undersigned ("Moser

Letter") as Ex. 1 (D.I. 23-1)     ("Settlement Agreement")).

          Court approval of an FLSA settlement is appropriate

          "when [ the settlement] [is] reached as a result of
          contested litigation to resolve bona fide disputes."

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          Johnson v. Brennan, No. 10 Civ. 4712, 2011 WL 4357376,
          at *12 (S.D.N.Y. Sept. 16, 2011).  "If the proposed
          settlement reflects a reasonable compromise over con-
          tested issues, the court should approve the settle-
          ment." Id. (citing Lynn's Food Stores, Inc. v. United
          States, 679 F.2d 1350, 1353 n. 8 (11th Cir. 1982)).

Agudelo v. E & D LLC, 12 Civ. 960       (HB), 2013 WL 1401887 at *l

(S.D.N.Y. Apr. 4, 2013)    (Baer, D.J.)    (alterations in original)

"Generally, there is a strong presumption in favor of finding a

settlement fair,    [because] the Court is generally not in as good

a position as the parties to determine the reasonableness of an

FLSA settlement."    Lliguichuzhca v. Cinema 60, LLC,       948 F. Supp.

2d 362, 365 (S.D.N.Y. 2013)     (Gorenstein, M.J.)    (internal quota-

tion marks omitted).    In Wolinsky v. Scholastic Inc., 900 F.

Supp. 2d 332, 335 (S.D.N.Y. 2012), the Honorable Jesse M. Furman,

United States District Judge, identified five factors that are

relevant to an assessment of the fairness of an FLSA settlement:

                In determining whether [a] proposed [FLSA]
          settlement is fair and reasonable, a court should
          consider the totality of circumstances, including but
          not limited to the following factors:    (1) the
          plaintiff's range of possible recovery; ( 2) the extent
          to which the settlement will enable the parties to
          avoid anticipated burdens and expenses in establishing
          their claims and defenses; (3) the seriousness of the
          litigation risks faced by the parties; (4) whether the
          settlement agreement is the product of arm's length
          bargaining between experienced counsel; and (5) the
          possibility of fraud or collusion.

(internal quotation marks omitted).       The settlement here satis-

fies these criteria.

          First, plaintiff's net settlement -- $8,000.00 after


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attorneys' fees and costs 1       --   represents approximately 16% of his

total alleged damages.          This percentage is reasonable, especially

considering defendant's documentary evidence, which appeared to

disprove plaintiff's claims.           See Redwood v. Cassway Contracting

Corp., 16 Civ. 3502      (HBP), 2017 WL 4764486 at *2      (S.D.N.Y. Oct.

18, 2017)      (Pitman, M.J.)    (net settlement of 29.1% of FLSA plain-

tiffs' maximum recovery is reasonable); Chowdhury v. Brioni

America, Inc., 16 Civ. 344         (HBP), 2017 WL 5953171 at *2     (S.D.N.Y.

Nov. 29, 2017)      (Pitman, M.J.)     (net settlement of 40% of FLSA

plaintiffs' maximum recovery is reasonable); Felix v. Breakroom

Burgers    &   Tacos, 15 Civ. 3531 (PAE), 2016 WL 3791149 at *2

(S.D.N.Y. Mar. 8, 2016)         (Engelmayer, D.J.)   (net settlement of 25%

of FLSA plaintiff's maximum recovery is reasonable).

               Second, the settlement will entirely avoid the expense

and aggravation of litigation.           The factual and legal issues in

this matter would have led to protracted and costly litigation,

likely involving multiple depositions and dispositive motion

practice.       The settlement avoids this burden.

               Third, the settlement will enable plaintiff to avoid

the risk of litigation.          The main factual dispute in this case is

whether the defendants' time records and payroll records are

accurate.       Given this documentary evidence and the fact that


     1
      As explained below, I am reducing the award for costs to
$500.00 leaving $12,000.00 to be allocated between plaintiff and
his attorney.

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plaintiff bears the burden of proof, it is uncertain whether, or

how much, plaintiff would recover at trial.

             Fourth, because I presided over the settlement confer-

ence that immediately preceded plaintiff's acceptance of the

settlement, I know that the settlement is the product of arm's-

length bargaining between experienced counsel.           Both counsel

represented their clients zealously at the settlement conference.

             Fifth, there are no factors here that suggest the

existence of fraud.       The material terms of the settlement were

reached at the settlement conference after a lengthy negotiation.

             Plaintiff also agrees to a release of defendants

limited to wage-and-hour claims (Settlement Agreement§ 3).               I

find this release permissible because it is narrowly tailored to

wage-and-hour issues.       See Redwood v. Cassway Contracting Corp.,

supra, 2017 WL 4764486 at *3 (release of defendants "from any and

all wage and hour and/or notice claims" that could have been

brought permissible "because it is limited to claims relating to

wage and hour issues"); Yunda v. SAFI-G, Inc., 15 Civ. 8861

(HBP), 2017 WL 1608898 at *3 (S.D.N.Y. Apr. 28, 2017)            (Pitman,

M. J.)   (release that is "narrowly-tailored to plaintiffs' wage-

and-hour claims" permissible); see also Santos v. Yellowstone

Props., Inc., 15 Civ. 3986 (PAE), 2016 WL 2757427 at *l, *3

(S.D.N.Y. May 10, 2016)       (Engelmayer,   D.J.); Hyun v.   Ippudo USA

Holdings, 14 Civ. 8706       (AJN), 2016 WL 1222347 at *3-*4      (S.D.N.Y.


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Mar. 24, 2016)    (Nathan, D.J.).

            Finally, the Settlement Agreement provides that $1,000

will be paid to plaintiff's counsel for out-of-pocket costs and

$3,833.33, 33.3% of the total settlement amount after the deduc-

tion of costs, will be paid to plaintiff's counsel as a contin-

gency fee    (Settlement Agreement§ 1).

            Plaintiff's counsel claims his out-of-pocket costs

consist of the $400 filing fee, and $600 for service of process

and "legal research charges"        (Moser Letter at 11).    The $400

filing fee is a reasonable out-of-pocket cost and I approve it.

See Nat'l Integrated Grp. Pension Plan v. Dunhill Food Equip.

Corp., 11 Civ. 3652 (MKB), 2014 WL 887222 at *10 (E.D.N.Y. Jan.

6, 2014)    (Report   &   Recommendation), adopted at, 2014 WL 883893

(E.D.N.Y. Mar. 6, 2014)        ("Filing fees and service of process are

specifically included in the statute, and therefore plaintiffs

here may recover them."), citing 28 U.S.C. § 1920.           However,

counsel has not provided any explanation or documentation to

support his claim of $600 for legal research charges.           This

matter was a fairly routine FLSA case and there is no indication

from the docket sheet that any motion practice took place.              In

addition, the Court's records show that plaintiff's counsel

litigated, as plaintiff's counsel, at least six FLSA/NYLL actions

before he commenced this action.           Thus, he had no need to conduct

legal research before commencing this action.


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               Accordingly, I approve $100 for service of process, but

do not approve the additional requested $500.                        See Piedra v. Ecua

Restaurant,       Inc., 17-CV-3316 (PKC) (CLP), 2018 WL 1136039 at *20

(E.D.N.Y. Jan. 31, 2018)            (Report       &   Recommendation), adopted at,

2018 WL 1135652 (E.D.N.Y. Feb. 28, 2018)                    (the party moving for

costs bears the burden of demonstrating the reasonableness of

each charge and "failure to provide adequate documentation of

costs incurred will limit, or even defeat, recovery") . 2

                Turning to the $4,000.00 contingency fee,                  I find this

fee to be reasonable.            Contingency fees of one-third in FLSA

cases are routinely approved in this Circuit.                        See Santos v. EL

Tepeyac Butcher Shop Inc., 15 Civ. 814                    (RA), 2015 WL 9077172 at

*3   (S.D.N.Y. Dec. 15, 2015)           (Abrams, D.J.)        ("[C]ourts in this

District have declined to award more than one third of the net

settlement amount as attorney's fees except in extraordinary

circumstances."), citing Zhang v. Lin Kumo Japanese Rest. Inc.,

13 Ci v . 6 6 6 7 ( PAE ) , 2 0 15 WL 5 12 2 5 3 0 at * 4 ( S . D . N . Y . Aug . 31 ,

2015)       (Engelmayer, D.J.) and Thornhill v. CVS Pharm., Inc., 13

Civ. 507       (JMF), 2014 WL 1100135 at *3              (S.D.N.Y. Mar. 20, 2014)

(Furman, D.J.); Rangel v. 639 Grand St. Meat                     &   Produce Corp., 13

CV 3234       (LB), 2013 WL 5308277 at *l (E.D.N.Y. Sept. 19, 2013)

(approving attorneys' fees of one-third of FLSA settlement


        2
      The Settlement Agreement contains a severability clause
and, thus, this reduction does not affect my approval of the
overall settlement (Settlement Agreement§ 9).

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amount, plus costs, pursuant to plaintiff's retainer agreement,

and noting that such a fee arrangement "is routinely approved by

courts in this Circuit") .

            Accordingly, for all the foregoing reasons,         I approve

the settlement in this matter.        In light of the settlement, the

action is dismissed with prejudice and without costs.            The Clerk

is respectfully requested to mark this matter closed.

Dated:      New York, New York
            March 25, 2019

                                           SO ORDERED


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                                           HENRY PITMXN               '
                                           United States Magistrate Judge

Copies transmitted to:

All Counsel




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